      Case 2:18-cv-01623-DWL Document 160 Filed 10/22/21 Page 1 of 3




 1 COHEN DOWD QUIGLEY
     The Camelback Esplanade One
 2 2425 East Camelback Road, Suite 1100

 3
     Phoenix, Arizona 85016
     Telephone 602•252•8400
 4
   Daniel G. Dowd (012115)
 5 Email: ddowd@CDQLaw.com
   Betsy J. Lamm (025587)
 6 Email: blamm@CDQLaw.com
   Rebecca van Doren (019379)
 7 Email: rvandoren@CDQLaw.com
    Attorneys for Defendants
 8

 9                          UNITED STATES DISTRICT COURT
10                                  DISTRICT OF ARIZONA
11
     John Doe,                                          Case No: 2:18-cv-01623-DWL
12
                       Plaintiff,
13                                                      STIPULATION TO SEAL
     vs.                                                CERTAIN EXHIBITS TO THE
14                                                      ARIZONA BOARD OF REGENTS’
     The Arizona Board of Regents; James Rund;          MOTIONS TO EXCLUDE
15 Craig Allen; Tara Davis; Kendra Hunter;              TESTIMONY AND OPINIONS OF
     Kathleen Lamp; and Andrew                          LANCE KAUFMAN AND CURTIS
16 Waldron,                                             OWEN
17                     Defendants.                      (Assigned to the Honorable Dominic W.
                                                        Lanza)
18

19         Pursuant to Local Rule 5.6(d) and the Protective Order entered by this Court on
20 September 16, 2019 (Doc. 59), Plaintiff John Doe and Defendant The Arizona Board of

21 Regents (“ABOR”) have conferred regarding certain exhibits to the following concurrently

22 filed motions: (1) ABOR’s Motion to Exclude Testimony and Opinions of Lance Kaufman

23 and (2) ABOR’s Motion to Exclude Testimony and Opinions of Curtis Owen. Plaintiff and

24 ABOR stipulate and agree that the following exhibits contain Confidential Information as

25 that term is defined in the Protective Order (Doc. 59) and should be filed under seal:

26         A.     ABOR’s Motion to Exclude Testimony and Opinions of Lance
27                Kaufman.

28         Plaintiff and ABOR stipulate and agree that the following exhibits to ABOR’s
                          Case 2:18-cv-01623-DWL Document 160 Filed 10/22/21 Page 2 of 3




                      1 Motion to Exclude Testimony and Opinions of Lance Kaufman should be filed under seal:

                      2                − Exhibit 1 is the Expert Report of Dr. Lance Kaufman, dated June 23,
                      3                    2021, including excerpts of attachments to the Expert Report;
                      4                − Exhibit 8 is an Email Exchange between Dr. Kendra Hunter, John Doe
                      5                    and Mr. Doe’s counsel, Robert Carey, December 28, 2016; and
                      6                − Exhibit 9 is an excerpt of the February 11, 2021 Deposition Transcript of
                      7                    John Doe.
                      8         Plaintiff designated each of these documents as “Confidential” pursuant to the
                      9 Protective Order because the documents use the true names of individuals designated under
COHEN DOWD QUIGLEY




                     10 the Protective Order as “Protected Persons,” and specifically because they contain

                     11 information that would reveal Plaintiff’s true identity if publicly filed without redaction.

                     12         B.     ABOR’s Motion to Exclude Testimony and Opinions of Curtis Owen.
                     13         Plaintiff and ABOR stipulate and agree that the following exhibits to ABOR’s
                     14 Motion to Exclude Testimony and Opinions of Curtis Owen should be filed under seal:

                     15                − Exhibit 1 is the July 2, 2021 Expert Report of Curtis Owen;
                     16                − Exhibit 2 is the September 10, 2021 Expert Rebuttal Report of Curtis
                     17                    Owen;
                     18                − Exhibit 3 is a screenshot of Mr. Owen’s bio from the Chandler High
                     19                    School Wrestling website; and
                     20                − Exhibit 5 is an excerpt of the February 11, 2021 Deposition Transcript of
                     21                    John Doe.
                     22         Each of these documents contains information designated as “Confidential” pursuant
                     23 to the Protective Order because the documents use the true names of individuals designated

                     24 under the Protective Order as “Protected Persons,” and specifically because they contain

                     25 information that would reveal Plaintiff’s true identity if publicly filed without redaction.

                     26         Accordingly, the parties respectfully request that the Court enter the proposed Order
                     27 submitted contemporaneously with this Stipulation.           Pursuant to Paragraph 8 of the
                     28
                                                                        2
                          Case 2:18-cv-01623-DWL Document 160 Filed 10/22/21 Page 3 of 3




                      1 Protective Order (Doc. 59), ABOR is contemporaneously filing redacted, unsealed versions

                      2 of the above-referenced Exhibits with its Motions.

                      3        RESPECTFULLY SUBMITTED this 22nd day of October, 2021.
                      4                                           COHEN DOWD QUIGLEY
                                                                  The Camelback Esplanade One
                      5                                           2425 East Camelback Road, Suite 1100
                                                                  Phoenix, Arizona 85016
                      6                                              Attorneys for Defendants
                      7
                                                                  By:    /s/ Betsy J. Lamm
                      8                                                  Daniel G. Dowd
                                                                         Betsy J. Lamm
                      9                                                  Rebecca van Doren
COHEN DOWD QUIGLEY




                     10                                           HAGENS BERMAN SOBOL SHAPIRO
                     11                                           LLP
                                                                  11 West Jefferson Street, Suite 1000
                     12                                           Phoenix, Arizona 85003
                                                                    Attorneys for Plaintiff
                     13

                     14
                                                                  By:    /s/ Leonard W. Aragon (with permission)
                     15                                                  Robert B. Carey
                                                                         Leonard W. Aragon
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